

Matter of Michael T. L. v Micka L. (2025 NY Slip Op 01577)





Matter of Michael T. L. v Micka L.


2025 NY Slip Op 01577


Decided on March 18, 2025


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: March 18, 2025

Before: Webber, J.P., Friedman, González, Scarpulla, Michael, JJ. 


Docket No. V-02770/22|Appeal No. 3902|Case No. 2023-05970|

[*1]In the Matter of Michael T. L., A Child Under Eighteen Years of Age, etc., Schadracia L. Petitioner-Appellant,
vMicka L., et al. Respondents-Respondents.


Law Office of Thomas R. Villecco, P.C., New York (Thomas R. Villecco of counsel), for appellant.
Muriel Goode-Trufant, Corporation Counsel, New York (Eva L. Jerome of counsel), for respondents.



Appeal from order, Family Court, New York County (Karen I. Lupuloff, J.), entered on or about November 1, 2023, which dismissed petitioner's petition for custody and visitation of the subject child, Michael T. L., based on her failure to appear and because the child had been previously freed for adoption, unanimously dismissed, without costs, as taken from a nonappealable order.
Upon our review of petitioner's assigned counsel's application and the record, we agree that the subject order is nonappealable because it was entered following petitioner's default at the hearing, and she did not move to vacate her default (see Matter of Aminata S. v Ndongo D., 230 AD3d 1078 [1st Dept 2024]; CPLR 5511). Moreover, the appeal is moot as the subject child has been adopted (Matter of Sandra M. v Che M., 204 AD3d 491, 491 [1st Dept 2022]).
As this Court has determined that petitioner's appeal is from a nonappealable order, the application by petitioner's assigned counsel to withdraw as counsel is granted. As such, we do not reach the issue raised by assigned counsel pertaining to the existence of nonfrivolous issues that could be raised on appeal (see Anders v California, 386 US 738 [1967]), and instead sua sponte relieve petitioner's counsel from representation of petitioner, as his representation on this appeal has been rendered moot by virtue of this order.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: March 18, 2025








